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May 7, 2020 .
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Honorable James L. Graham
Joseph P. Kinneary US Courthouse
85 Marconi Boulevard, Room 546
Columbus, Ohio 43215

RE: Bernd D. Appleby (76965-061)

Your honor,

| am writing to you regarding the Lompoc Prison and their management (or lack of) of
the COVID-19 epidemic which is running rampant throughout the prison and its satellite

camps.

Contrary to BoP assurances that they are containing this disease are incorrect and
misleading. In fact, the Prison has quit reporting any cases at all to the local Santa

Barbara County Public Department.

On May 6, 2020, Jimmie Lee Houston, a camper in the South Camp where my brother
is held, died.

My brother reported to me that Medical Staff who take daily temperatures have informed
inmates that the disease is out-of-control and that 80% of the 300 inmates at the Low
Facility have tested positive (Dorms J + K). The infected inmates are then moved to H

Unit and housed in 5x8 cells.

| have included some relevant articles that | hope will apprise you of the seriousness of
the out-of-control spread of the disease at Lompoc and my concern at the lack of care
and health of all inmates at Lompoc, but of course, in particular, my brother.

Thank you for your time and consideration,

Maupuck (Orirdpherionr

Margaret Christophersen
Case: 2:17-cr-00138-JLG-CMV Doc #: 147 Filed: 05/12/20 Page: 2 of 12 PAGEID #: 1104
Case: 2:17-cr-00138-JLG-CMV Doc #: 147 Filed: 05/12/20 Page: 3 of 12 PAGEID #: 1105
This page was cached on Thursday, May 7 , 2020, 1:06 pm | Fair 81° f wW

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ae :' freshest news in Santa Barbara

 

 

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Coronavirus Crisis

County COVID-19 Cases
soar by 70, but Most Are
Lompoc Federal Prison
Inmates

Testing Begins in Santa Barbara on Thursday at Earl Warren

 

Showgrounds
By Joshua The number of new COVID-19 cases in Santa Barbara
Molina, County soared by 70 on Wednesday — but 65 of those
Noozhawk Staff are at the Lompoc Federal Penitentiary
Writer |
Cees Later Wednesday, Lompoc prison officials announced

that inmate Jimmie Lee Houston, 75, had been
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May 6, 2020
6:34 p.m.

COVID-19, making him the county's 10th person to die
due to COVID and the second fatality for the federal
facility.

The large number of new cases emerged as prison
officials continued fighting to contain the virus at the
prison, which has emerged as a national prison epicenter
for COVID-19.

Of the county's 613 total cases, 172 are inmates at the
prison, where the spike in cases is a result of mass
testing, said Dr. Van Do-Reynoso, county public heath
director.

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"Today we see a Significant rise in the number of
confirmed cases, primarily due to the mass testing that
began at the federal prison earlier this week," Do-
Reynoso.

The prison is testing all of its inmates in an attempt to
slow the transmission.

The goal is to identify asymptomatic or presymptomatic
inmates who may be carrying the virus and spreading

it unknowingly. The patients who test positive are
separated from those who do not.

Van Do-Reynoso said a majority of the inmates who have
tested positive are showing mild or no symptoms, but a
few are experiencing acute health care problems.

Of the remaining 441 non-inmate cases in the county, 24
are being treated at local hospitals, including 10 in
intensive care units, while 43 are recovering at home,
Case: 2:17-cr-00138-JLG-CMV Doc #: 147 Filed: 05/12/20 Page: 5 of 12 PAGEID #: 1107
which means the number of active cases continues ona

downward trend.

There are 355 people who have fully recovered, and
information is pending on 11 patients.

Some Lompoc prison inmates are being treated at local

hospitals, but they are not included in the county's total,
and the Public Health Department is not releasing those
numbers at the request of the U.S. Bureau of

Prisons, Do-Reynoso told Noozhawk.

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delivered at 4:15 a.m. right to your inbox.

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The Lompoc prison's outbreak comes at a time when the
state is conducting increased testing in the county.

In Santa Maria, 116 people were tested on Monday and
the results are pending. Van Do-Reynoso said she
expects an increase in the number of people who test
positive because more people are being tested.

A testing site will open at Eart Warren Showgrounds on
Thursday, and in Lompoc on Friday.

"Through increased testing, local communities can box in
the spread of the virus, by quickly identifying
asymptomatic people who are infected with the virus,”
Do-Reynoso said. "We encourage our community to take
advantage of this local opportunity to get tested."

Screening and appointments can be made between 7
a.m. and 5 p.m. by visiting https://Ihi.care/covidtesting or
by calling 888.634.1123. The test costs will be billed to
health insurance, or will be free.

The county on Tuesday announced a ninth person who
died, a Santa Barbara resident in their 40s, with
underlying health conditions. No additional details were
provided about that case.
Case: 2:17-CIEQUBnI hs WasKkatearhtddll ab tne LerRpdesosatelMitd2 PAGEID #: 1108
Prison Camp, had reported feeling ill on April 8, and was
transported to a local hospital where he tested positive
for COVID-19, BOP representatives said.

Three days later, his condition declined and he was
placed on a ventilator but died sometime Wednesday at
an unspecified hospital. He also had underlying health
conditions.

Houston was sentenced in the District of Alaska to 10
years in federal prison for possessing a controlled
substance with intent to distribute, possessing a firearm
with obliterated serial number, and a criminal forfeiture
allegation.

He had been in custody at the Lompoc Federal
Correctional Complex since Feb. 16, 2018, BOP officials
said.

The Satellite Prison Camp is a minimum-security facility
with 502 males inmates adjacent to the U.S. Penitentiary,
Lompoc. The Lompoc Federal Correctional Complex also
includes the Federal Correctional Institution, with
approximately 2,700 inmates at all the facilities there.

Noozhawk North County editor janene Scully contributed to
this report.

— Noozhawk staff writer joshua Molina can be reached at
imolina@noozhawk.com. Follow Noozhawk on Twitter:
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Breaking News | Lompoc Prison Reports Second COVID-19 Death

65 More COVID-19 Cases

Confirmed at Lompoc Prison
Part of the Complex Is Now Testing 100 Percent of

inmates

 

The Lompoc prison recently finished construction on a new hospital unit with
double-occupancy rooms to care for its growing number of sick inmates. | Credit:

Bureau of Prisons

By Tyler Hayden

Wed May 06, 2020 | 7:38pm

The number of confirmed COVID-19 cases at the federal prison complex
in Lompoc jumped by 65 today as the penitentiary started the process of
testing 100 percent of inmates in one particularly hard-hit area of the
property. There are now 172 confirmed cases among staff and inmates
throughout the grounds, and that figure is expected to rise sharply in the
coming days as testing continues.
Case: 2:17-cr-00138-JLG-CMV Doc #: 147 Filed: 05/12/20 Page: 8 of 12 PAGEID #: 1110
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The known prison cases account for more than a quarter of all Santa
Barbara County infections, which has now reached 613. The number of
prison cases, combined with community cases in the cities of Santa
Maria and Lompoc, where the majority of staff live, account for more than
two-thirds of the county's total.

The Bureau of Prisons said Tuesday it would be testing all inmates at
Federal Correctional Institution Lompoc (FCI Lompoc), the low-security
component of the complex that houses 1,186 male offenders. The other
half of the complex is United States Penitentiary Lompoc (USP Lompoc),
with 1,530 inmates. The bureau notably did not say mass testing was
taking place there.

“This robust testing will assist FC! Lompoc in slowing transmission by
identifying those asymptomatic or pre-symptomatic individuals who may
be carrying the virus unknowingly and separating them from those who
test negative, thus preventing these COVID-positive inmates from
transmitting the virus to others,’ the agency said ina prepared statement.

“Social distancing inside a prison is difficult to achieve, especially with an
open dormitory style setting,” the statement continued. “FCI Lompoc
tackled this challenge by placing over 250 beds in alternative housing to
create space and serve as quarantine locations. On the prison grounds,
multiple temperature-controlled field living quarters are being utilized for
housing. Additionally, the gymnasium, chapel, visiting room, and the
decommissioned prison industry factory have been repurposed to
accommodate inmate housing.”

The prison also just compieted construction on a hospital unit within a
decommissioned factory on the property. It contains 20 acute-care beds,
a pharmacy, biohazard room, and other medical resources. Bureau of
Prison (BOP) officials, citing security concerns, have declined to state
how many staff and inmates are currently being treated at area
hospitals.
Case: 2:17-cr-00138-JLG-CMV Doc #: 147 Filed: 05/12/20 Page: 9 of 12 PAGEID #: 1111
inmates in outside hospitals are guarded 24 hours a day by two officers

on eight-hour shifts. Due to outbreak-related staffing shortages at the
Lompoc complex, the BOP has reportedly been flying in guards from one
or more of its 121 other penitentiaries to fill the empty shifts.

At the Santa Barbara Independent, our staff is working around the clock
to cover every aspect of this crisis — sorting truth from rumor. Our
reporters and editors are asking the tough questions of our public health
officials and spreading the word about how we can aif help one another.
The community needs us — now more than ever — and we need you in
order to keep doing the important work we do. Support

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Thu May 07, 2020 | 19:45pm
https://www.independent.com/2020/05/06/65-more-covid-1 9-cases-confirmed-at-lompoc-prisor
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TODAY
Breaking News | Lompoc Prison Reports Second COVID-19 Death

Lompoc Prison Reports
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Jimmie Lee Houston, 75, Was Serving 10-Year

Sentence

 

Lompoc Prison | Credit: courtesy

By Tyler Hayden

Thu May 07, 2020 | 9:29am

The federai prison complex in Lompoc reported its second COVID-19
death Thursday. Jimmie Lee Houston, 75, tested positive for the
virus on April 8 and, after his health quickly declined, was placed on
a ventilator on April 11. He died May 6 at an undisclosed hospital in
Santa Barbara County. Houston had long-term, preexisting medical
conditions, the Bureau of Prisons (BOP) said in a news release.
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Houston had been in custody in Lompoc since February 2018. He'd
been sentenced in Alaska to 10 years behind bars on drug and gun
charges. A total of 42 BOP inmates have now died from COVID-19
while in custody.

The Lompoc prison complex recently completed construction on a
20-bed hospital unit to ease the growing strain on regional health
centers as the number of infected inmates continues to rise. Santa
Barbara officials reported Wednesday that 172 inmates and staff
have now tested positive for the virus. Inmates and their families
continue to criticize the BOP and Lompoc prison authorities for not
acting quickly enough to contain the outbreak, which remains one of

the worst in the country.

At the Santa Barbara Independent, our staff is working around the
clock to cover every aspect of this crisis — sorting truth from rumor.
Our reporters and editors are asking the tough questions of our
public health officials and spreading the word about how we can all
help one another. The community needs us — now more than ever —
and we need you in order to keep doing the important work we do.
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Thu May 07, 2020 | 19:56pm
https://www.independent.com/2020/05/07/ lompoc-prison-reports-second-covid-1 9-death,
